      Case 3:08-cr-00061-LC-EMT                Document 532           Filed 06/16/14        Page 1 of 4


                                                                                                           Page 1 of 4



                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                          Case Nos.:       3:08cr61/LAC/EMT
                                                                              3:14cv269/LAC/EMT
RODRICK SLACK


                                REPORT AND RECOMMENDATION

       Defendant has filed a document titled “Memorandum of Law in Support of Motion Under
28 U.S.C. § 2255(f)(3) to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody”
(doc. 531), which the clerk has docketed as—and the court will construe as—a motion filed under
28 U.S.C. § 2255. Defendant failed to fill out and submit the court-approved form for use in section
2255 cases in accordance with Local Rule 5.1(J) for the Northern District of Florida. However,
Rule 4(b) of the Rules Governing Section 2255 Proceedings provides in part that “[i]f it plainly
appears from the face of the motion and any attached exhibits and the record of prior proceedings
that the moving party is not entitled to relief, the judge must dismiss the motion and direct the clerk
to notify the moving party.” Therefore, after a review of Defendant’s submission and the record,
it is the opinion of the undersigned that amendment would be futile because Defendant’s motion is
untimely and should be summarily dismissed.1
                                   BACKGROUND AND ANALYSIS
       Defendant was convicted after a jury trial of conspiracy to possess with intent to distribute
cocaine and cocaine base, and the court sentenced him to a term of 444-months imprisonment on
December 9, 2008 (docs. 228, 282, 291). Defendant appealed only the imposition of a fine, and the


       1
           Defendant’s memorandum is also in excess of the twenty-five pages allowed by the Local Rules.
      Case 3:08-cr-00061-LC-EMT                     Document 532             Filed 06/16/14           Page 2 of 4



                                                                                                                  Page 2 of 4


Eleventh Circuit’s affirmed on December 14, 2009 (see doc. 390). Defendant filed the instant
motion to vacate pursuant to the prison mailbox rule2 on June 9, 2014. He claims that his attorneys
were constitutionally ineffective prior to trial, during trial, at sentencing, and on appeal.
         Title 28 U.S.C. § 2255(f) imposes a one-year time limitation on the filing of motions under
this section. The one-year period of time runs from the latest of:
         (1) the date on which the judgment of conviction becomes final;
         (2) the date on which the impediment to making a motion created by governmental
         action in violation of the Constitution or laws of the United States is removed, if the
         petitioner was prevented from making a motion by such governmental action;
         (3) the date on which the right asserted was initially recognized by the Supreme
         Court, if that right has been newly recognized by the Supreme Court and made
         retroactively applicable to cases on collateral review; or
         (4) the date on which the facts supporting the claim or claims presented could have
         been discovered through the exercise of due diligence.
28 U.S.C. § 2255. Defendant purports to bring his motion pursuant to 28 U.S.C. § 2255(f)(3) (doc.
531 at 1–2). He cites Missouri v. Frye, 132 S. Ct. 1399 (2012) and Lafler v. Cooper, 132 S. Ct. 1376
(2012) in his “Statement of the Grounds for Review” (doc. 531 at 2). Each of these cases was
decided well over a year before Defendant filed the instant motion and thus cannot serve as a basis
for review. Defendant also cites Alleyne v. United States, 133 S. Ct. 2151 (2013) (doc. 531 at
24–26). Even if Alleyne were applicable to the facts of Defendant’s case, it is not retroactively
applicable on collateral review. See United States v. Harris, 741 F.3d 1245, 1250 n.3 (11th Cir.
2014); see also United States v. Redd, 735 F.3d 88, 91 (2d Cir. 2013); United States v. Winkelman,
746 F.3d 134, 136 (3d Cir. 2014); In re Kemper, 735 F.3d 211, 212 (5th Cir. 2013); United States
v. Miller, 542 F. App’x 526, 528 (7th Cir. 2013); In re Payne, 733 F.3d 1027, 1029–30 (10th Cir.
2013). Therefore, it also does not excuse the untimeliness of Defendant’s motion.




         2
             A pro se inmate’s pleading is deemed filed at the time it is placed in the prison mailbox or delivered to prison
authorities for mailing. See Houston v. Lack, 487 U.S. 266 (1988) (holding that a pro se inmate’s notice of appeal was
filed as of the time he placed it in the prison mailbox, thus creating the “prison mailbox rule”); Williams v. McNeil, 557
F.3d 1287, 1290 n.2 (11th Cir. 2009) (under the “prison mailbox rule,” a pro se prisoner’s court filing is deemed filed
on the date it is delivered to prison authorities for mailing); Washington v. United States, 243 F.3d 1299, 1301 (11th Cir.
2001) (absent evidence to the contrary, court assumes that a pro se petition is delivered to prison authorities for mailing
the date it was signed).

Case Nos.: 3:08cr61/LAC/EMT; 3:14cv269/LAC/EMT
      Case 3:08-cr-00061-LC-EMT                   Document 532       Filed 06/16/14     Page 3 of 4



                                                                                                 Page 3 of 4


         Unless Defendant establishes his entitlement to equitable tolling, his motion is time barred.
Jones v. United States, 304 F.3d 1035, 1038 (11th Cir. 2002) (citing Akins v. United States, 204
F.3d 1086, 1089 (11th Cir. 2000)).               Equitable tolling is appropriate when a § 2255 motion is
untimely because of “extraordinary circumstances that are both beyond [the defendant’s] control and
unavoidable even with diligence.” Johnson v. United States, 340 F.3d 1219, 1226 (11th Cir. 2003)
(citing Drew v. Dep’t of Corr., 297 F.3d 1278, 1286 (11th Cir. 2002); Sandvik v. United States, 177
F.3d 1269, 1271 (11th Cir. 1999)). Otherwise stated, “a litigant seeking equitable tolling bears the
burden of establishing two elements: (1) that he has been pursuing his rights diligently, and (2) that
some extraordinary circumstance stood in his way.” Lawrence v. Florida, 549 U.S. 327, 336 (2007)
(citation omitted); Hutchinson v. Florida, 677 F.3d 1097, 1100 (11th Cir. 2012). It only applies in
“truly extraordinary circumstances.” Johnson, 340 F.3d at 1226 (citing Jones, 304 F.3d at 1039–40;
Drew, 297 F.3d at 1286). The onus is on the moving defendant to show that he is entitled to this
extraordinary relief. Johnson, 340 F.3d at 1226, Jones, 304 F.3d at 1040. The court will not relieve
a petitioner who has sat upon his rights. United States v. Cicero, 214 F.3d 199, 203 (D.C. Cir. 2000)
(citing Coleman v. Johnson, 184 F.3d 398, 402–03 (5th Cir. 1999)). Defendant offers no
explanation for his failure to pursue collateral relief in a timely manner, and his citation to Frye,
Cooper, and Alleyne does not suffice. Therefore, Defendant’s motion should be summarily denied
as untimely.
                                   CERTIFICATE OF APPEALABILITY
         Rule 11(a) of the Rules Governing Section 2255 Proceedings provides that “[t]he district
court must issue or deny a certificate of appealability when it enters a final order adverse to the
applicant,” and if a certificate is issued “the court must state the specific issue or issues that satisfy
the showing required by 28 U.S.C. § 2253(c)(2).” A timely notice of appeal must still be filed, even
if the court issues a certificate of appealability. Rule 11(b), Rules Governing Section 2255
Proceedings.
         After review of the record, the court finds no substantial showing of the denial of a
constitutional right. 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483–84 (2000)
(explaining how to satisfy this showing) (citation omitted). Therefore, it is also recommended that
the court deny a certificate of appealability in its final order.

Case Nos.: 3:08cr61/LAC/EMT; 3:14cv269/LAC/EMT
      Case 3:08-cr-00061-LC-EMT                  Document 532   Filed 06/16/14      Page 4 of 4



                                                                                              Page 4 of 4


         The second sentence of Rule 11(a) provides: “Before entering the final order, the court may
direct the parties to submit arguments on whether a certificate should issue.” If there is an objection
to this recommendation by either party, that party may bring this argument to the attention of the
district judge in the objections permitted to this Report and Recommendation.
         Based on the foregoing, it is respectfully RECOMMENDED:
         1.       The motion to vacate, set aside, or correct sentence (doc. 531) be summarily
DENIED and DISMISSED as untimely.
         2.       A certificate of appealability be DENIED.
         At Pensacola, Florida, this 16th day of June 2014.



                                                    /s/ Elizabeth M. Timothy
                                                    ELIZABETH M. TIMOTHY
                                                    UNITED STATES MAGISTRATE JUDGE



                                         NOTICE TO THE PARTIES

       Any objections to these proposed findings and recommendations must be filed within
fourteen days after being served a copy thereof. Any different deadline that may appear on
the electronic docket is for the court’s internal use only, and does not control. A copy of
objections shall be served upon all other parties. Failure to object may limit the scope of
appellate review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d
698, 701 (11th Cir. 1988).




Case Nos.: 3:08cr61/LAC/EMT; 3:14cv269/LAC/EMT
